                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN
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TARENCE BANKS,

                         Plaintiff,
     v.                                          Case No. 14-cv-381-pp

NURSE LESLIE,
UNKNOWN, Sued as Nurse Practitioner Doe,
NURSE BILL, Sued as Nurse Bill Doe,
NURSE MEHRING, CHRISTOPHER SCHMALING,
NICK KOLDEWAY, PATRICK NOONAN,
MELISSA A. GONZALES, SGT. MELISSA MORAN,
LT. SHAWN BARKER, LT. BRADLEY FRIEND,
UNKNOWN, Sued as Evans Doe, Classification Jailer,
DOUGLAS WEARING,
and PORFIRIO LEDEZMA,

                        Defendants.
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DECISION AND ORDER DENYING PLAINTIFF’S MOTION TO COMPEL (DKT.
 NO. 45), CONSTRUING PLAINTIFF’S REQUEST FOR CLARIFICATION AS A
   MOTION FOR RECONSIDERATION OF SCREENING ORDER, GRANTING
  PLAINTIFF’S MOTION FOR RECONSIDERATION OF SCREENING ORDER
 (DKT. NO. 51), DENYING PLAINTIFF’S REQUEST FOR RECONSIDERATION
       OF COUNSEL (DKT. NO. 51), DENYING WITHOUT PREJUDICE
     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT (DKT. NO. 36),
    DENYING AS MOOT PLAINTIFF’S MOTION FOR EXTENSION OF TIME
(DKT. NO. 53), DIRECTING DEFENDANTS TO ADVISE THE COURT WITHIN
     TEN DAYS OF THE DATE OF THIS ORDER WHETHER THEY HAVE
      INFORMATION AS TO EVANS DOE/JOSHUA EVANS’S CURRENT
    WHEREABOUTS, AND ADVISING THAT THE COURT WILL ENTER AN
   AMENDED SCHEDULING ORDER ONCE ALL DEFENDANTS HAVE BEEN
                SERVED AND ANSWERED THE COMPLAINT
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                    Motion to Compel Discovery (Dkt. No. 45)

     The plaintiff, Tarence Banks, has filed a motion to compel discovery. Dkt.

No. 45. He asked the court to compel the defendants to provide him with


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additional responses to his First Request for Discovery and Request for

Production of Documents.1 The defendants filed a response to the motion to

compel, in which they contend (a) that the plaintiff has failed to comply with

Federal Rule of Civil Procedure 37(a) and Civil Local Rule 37 because he did

not confer with the defendants before filing his motion and (b) that the

plaintiff’s motion is without merit. Dkt. No. 48.

      A party may file a motion to compel discovery when another party fails to

respond to interrogatories or requests for production of documents. Fed. R. Civ.

P. 37(a)(3)(B)(iii) and (iv). The party filing the motion to compel “must include a

certification that the movant has in good faith conferred or attempted to confer

with the person or party failing to make disclosure or discovery in an effort to

obtain it without court action.” Fed. R. Civ. P. 37(a)(1). Additionally, Civil Local

Rule 37 requires the moving party to “recite the date and time of the conference

or conferences and the names of all parties participating in the conference or

conferences.”

      The plaintiff’s motion does not include a certification that he attempted

to resolve his discovery dispute with the defendants prior to seeking court

action. See generally, Dkt. No. 45. The court understands that, because the

plaintiff is a pro se prisoner, he is unable to meet with the defendants in

person to comply with this requirement. He could, however, have written to the

defendants to try to work through his discovery concerns; he has not provided


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 On December 18, 2014, Banks filed this discovery request with the court. Dkt.
No. 33.


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a certification that he did so. Even if he had conferred with the defendants and

provided the proper certification, however, the court would deny the motion to

compel, because the defendants’ response reveals that they adequately

responded to his discovery requests.

      On January 20, 2015, the defendants served their response to the

plaintiff’s discovery requests, which included a document production consisting

of 1,177 pages. Dkt. No. 49, Aff. of Attorney Jaclyn Kallie ¶2 and Ex. A. On

February 16, 2015, the parties submitted a Confidentiality Stipulation and

Order, Dkt. No. 44, which the court approved on February 18, 2015. On March

19, 2015, the defendants served amended responses to the plaintiff’s discovery

requests, providing an additional 51 pages of confidential documents. Dkt. No.

49 at ¶3 and Ex. B.

      In his motion to compel, the plaintiff disputes the defendants’ objections

to numbers 2, 3, 7, 14, 18, 26, 27, 29, and 30 of his discovery requests. Dkt.

No. 45. After the plaintiff signed the Confidentiality Stipulation, however, the

defendants withdrew their objections to discovery requests 2 and 3, as

indicated in their amended response. Dkt. No. 49-2 at 1. The defendants stated

that they provided all responsive documents to requests 2 and 3. Dkt. No. 49-2

at 1-2. The plaintiff has not established that the defendant’s responses to his

requests are insufficient or incomplete.

      Request number 7 states: “Places where handicap[ped] detainees are

house[d] that’s handicap accessible.” Dkt. No. 49-1 at 3. The defendants

objected to that request as “vague and ambiguous and contains undefined


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terms.” Id. They nonetheless responded to the interrogatory by stating that

portions of the E Wing at the Racine County Jail are accessible for wheelchair

use and that certain bathrooms in the E Wing and Intake are handicap

accessible. Id.

        Request number 14 sought “[a]ny documents sign [sic] for Plaintiff by

deputy or correctional officer.” Id. at 4. The defendants objected to the request

as vague, ambiguous, and unclear, but they also provided the plaintiff with his

jail file. Id.

        Request number 18 states: “Copy of duties of the nurse at Racine County

Jail through C.H.C. [Correctional Health Care] or Racine County Jail contacts.”

Id. at 5. The defendants objected to request 18 as vague, ambiguous, and

unclear. They also responded that they do not possess or control the policies,

procedures or duties of C.H.C. employees. Id. The defendants further stated

that to the extent that the contract between C.H.C. and Racine County

contains a description of the duties of the C.H.C. nurses, the contract was

attached to their response. Id.

        Request number 26 sought “[c]opies of Racine County Jail inmate health

care, inmate health screening, and health care policy.” Id. at 7. The defendants

objected to this request as “overly broad and burdensome as the policies and

procedure governing the Racine County Jail contain numerous references to

‘inmate health care.’” Id. They nonetheless provided the plaintiff with the jail’s

healthcare screening policy.




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      Request number 27 sought a copy of the Racine County Jail policy and

procedure manual. Id. The defendants objected to request 27 because the

documents requested “are voluminous and contain many documents which are

neither relevant nor reasonably calculated to lead to the discovery of relevant

evidence.” Id. The defendants went on to state that, “[t]o the extent that the

plaintiff had made specific requests for portions of the policy and procedure

manuals which were in effect during the plaintiff’s incarceration at the Racine

County Jail, those policy and procedure manuals are attached hereto.” Id.

      Request number 29 seeks a copy of inmate Manuel Garcia’s placement

log in the Racine County Jail, the reasons why he was placed where he was,

and a statement regarding whether he was placed anywhere for medical

reasons. Id. The defendants objected to the plaintiff’s discovery request because

it sought privileged information about another inmate. Id. The defendants also

stated that “there are multiple individuals named Manuel Garcia who were

incarcerated at the Racine County Jail” and that they “require[ed] additional

identifying information on which of the individuals named Manuel Garcia the

plaintiff is referencing[.]”Id. at 7-8. On May 15, 2015, however, the plaintiff filed

an authorization from Manuel Garcia. Dkt. No. 52. The defendants

subsequently served a second amended discovery response on the plaintiff with

the requested information. Dkt. No. 54 at 2 n.2.

      Request number 30 sought any information on funding the Racine

County Jail receives from the federal government. Dkt. No. 49-1 at 8. The

defendants objected to this request as overly broad and ambiguous, but they


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also answered that the jail receives funds from the State Criminal Alien

Assistance Program.2

      The court notes that the plaintiff argues that he received some

documents where someone had written in dates and times, and others where

“the screen has been redacted.” Dkt. No. 45. He argues that these documents—

whatever they are—were computer print-outs, and thus should not have

handwriting or be redacted. Id. The plaintiff has not identified the documents

to which he refers, or explained why the added or missing information is

relevant. He also argues that “I know for a fact there are hand written logs for

date’s [sic] and times but haven’t received them.” Id. The defendant does not

identify what these hand-written logs would chronicle, or how he knows they

exist. The court believes that the defendants have done the best they could to

comply with the plaintiff’s requests, even though it is not always clear what he

is asking for.

      As described above, the court’s review of the defendants’ responses to the

plaintiff’s requests reveals that the defendants have adequately responded to



2
 The United States Department of Justice Bureau of Justice Assistance
administers the State Criminal Alien Assistance Program (SCAAP) in
conjunction with the Bureau of Immigration and Customs Enforcement and
Citizenship and Immigration Services, Department of Homeland Security.
SCAAP provides federal payments to states and localities that incurred
correctional officer salary costs for incarcerating undocumented criminal aliens
with at least one felony or two misdemeanor convictions for violations of state
or local law, and incarcerated for at least four consecutive days during the
reporting period. Bur. Of Justice Assistance, SCAAP,
https://www.bja.gov/ProgramDetails.aspx?Program_ID=86 (last visited Sept. 9,
2015).

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the plaintiff’s December 18, 2014 discovery request. Accordingly, the court will

deny the plaintiff’s motion to compel discovery.

                         Request for Clarification (Dkt. No. 51)

         On April 28, 2015, the plaintiff filed a letter requesting clarification as to

whether the court’s May 27, 2014 screening order (Dkt. No. 8) permitted him to

proceed on a claim under Title II of the Americans with Disabilities Act (ADA),

42 U.S.C. §12131, et seq. Dkt. No. 51. The plaintiff indicates that because, on

the civil cover sheet, he marked the box that said “Amer. w/Disabilities Other,”

Dkt. No. 1-2, and because the court stated in the screening order that he was

denied a handicap-accessible cell, suffered from not having his needs met, and

asked for money damages, he clearly meant to bring an ADA claim. Dkt. No.

51. The screening order did not mention an ADA claim.3 See 28 U.S.C. §1915A

(court shall screen complaint and “identify cognizable claims”). The court

construes the plaintiff’s letter as a motion for reconsideration of the screening

order.

         The complaint itself does not mention the ADA, see Dkt. No.1, although,

as he notes, the plaintiff did check the ADA box on the civil cover sheet he filed

along with his complaint, see Dkt. No. 1-2. A screening court, however,



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 On May 27, 2014, United States District Judge Lynn Adelman screened the
complaint under 28 U.S.C. §1915A and permitted the plaintiff to proceed on
Fourteenth Amendment conditions of confinement and deliberate indifference
to a serious medical need claims regarding the conditions at the Racine County
Jail and the alleged failure to treat his wound as directed; due process claims
related to his disciplinary hearings which resulted in segregation stays; and an
excessive force claim based on the allegation that defendant Koldeway
shouldered him causing injury. Dkt. No. 8 at 5.
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analyzes a litigant’s actual claims, not just the legal theories that he

articulates. Norfleet v. Walker, 684 F.3d 688, 690 (7th Cir. 2012).

      In the complaint, the plaintiff alleges that he is an amputee; he lost his

arm one month prior to his November 12, 2013, confinement at the Racine

County Jail. Dkt. No. 1. According to the complaint, the plaintiff was housed in

an intake cell for his first five days at the jail. The cell was not handicap

accessible; it did not have any bed or wall rails, and the plaintiff had trouble

getting up from his bed. As a result, the plaintiff alleges that he urinated on

himself several times because he could not make it to the toilet. The plaintiff

pressed the cell’s emergency call button numerous times for help, but never

received a response. Three days into his stay, the plaintiff asked how long he

had to remain in the cell, and Officer Evans (presumably, defendant Unknown

Evans Doe, Classification Jailer) said they hadn’t figured out where to put him

yet. The plaintiff told Officer Evans that he had urinated on himself.

      The plaintiff alleges that after five days in the intake cell, he was

transferred to “2D Day Room 4,” or “Med/Seg,” which also was not handicap

accessible. The plaintiff’s cellmate helped him with many tasks such as putting

on deodorant, cleaning the cell, putting his clothes in the laundry bag, and

changing the bandage on his back injury. The cellmate, however, “charged” the

plaintiff with food from his meal tray in exchange for the help, so the plaintiff

“starved” at times. Id. at 7. The cellmate also had to help the plaintiff get in and

out of bed, and sometimes helped the plaintiff get off of the toilet. When the

plaintiff asked Officer Evans where the handicap accessible cells were, Officer


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Evans replied that they were on the other side of the jail but that “[defendant]

Patrick Noonan states you will never see that side!” Id. at 8.

      The plaintiff alleges that he was on shower restriction because there were

no handicap accessible showers in 2D Dayroom 4. Although not entirely clear,

it also appears that the plaintiff was on shower restriction because he could

not get his bandage wet. Once the doctor approved the plaintiff for showers, he

was instructed to use the dayroom shower, which had no handrails or bars. He

fell off the chair staff gave him to use. The plaintiff then was approved to go

downstairs to use a shower with handrails. A chair was placed in the shower,

but it was the same type of chair he fell off of when he was upstairs. After

about two months, the plaintiff received a medical shower chair, but staff

removed the handrails from the chair which rendered it useless.

      According to the plaintiff, he subsequently transferred to “Day Room 2,”

which also was not handicap accessible. In Day Room 2, the plaintiff did not

have assistance from an inmate. He had trouble opening the Ziplock food bag

for meals, and his food went flying to the floor. After this happened numerous

times and the plaintiff wasn’t given replacement food, he finally received

Styrofoam food trays. The plaintiff also had trouble tying his laundry bag and

making his bed.

      In sum, the plaintiff alleges that between November 2013 and April 2014,

he was denied access to a handicap accessible cell at the Racine County Jail,

“suffering daily cause I couldn’t get my handicap needs met.” Id. at 17. The




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plaintiff also alleges that he was denied access to a handicap accessible

shower.

      To establish a violation of Title II of the ADA, “the plaintiff must prove

that he is a ‘qualified individual with a disability,’ that he was denied ‘the

benefits of the services, programs, or activities of a public entity’ or otherwise

subjected to discrimination by such an entity, and that the denial or

discrimination was ‘by reason of’ his disability.” Wagoner v. Lemmon, 778 F.3d

586, 592 (7th Cir. 2015) (quoting Love v. Westville Corr. Ctr., 103 F.3d 558,

560 (7th Cir. 1996)); see also 42 U.S.C. §12132. The plaintiff’s allegations that

he was denied a handicap accessible cell and access to handicap accessible

showers arguably state a claim under the ADA. See, e.g., Jaros v. Ill. Dep’t of

Corr., 684 F.3d 667, 671-72 (7th Cir. 2012); see also Alter v. Goord, 745 F.

Supp. 2d 317, 338 (S.D.N.Y 2010)(an inmate stated a plausible claim under the

Rehabilitation Act based on allegations that the prison failed to make

reasonable accommodations to give him access to meals and showers).

      The plaintiff also arguably states a claim under the Rehabilitation Act

(RA), 29 U.S.C. § 701, et seq. See Jaros, 684 F.3d at 672 (inmate who alleged

that the Illinois Department of Corrections’ refusal to accommodate the

inmate’s disability kept him from accessing meals and showers on the same

basis as other inmates stated a claim). To state a claim under the RA, the

plaintiff must allege that (1) he is qualified person, (2) with a disability, and (3)

the Racine County Jail denied him access to a program or activity because of

his disability. See id.; see also 29 U.S.C. §705(2)(B). Analysis under the ADA


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and the RA is the same, except that the RA includes as an additional element

the requirement that the entity denying access have received federal funds.4

Jaros, 684 F.3d at 671-72.

      The court notes that the plaintiff cannot obtain relief under both the ADA

and the RA. Jaros, 684 F.3d at 672 (dispensing with ADA claim because

prisoner “can have but one recovery”). The court’s job at the screening stage,

however, simply is to determine whether the plaintiff states a claim, and the

plaintiff in this case does advance an ADA claim. The court finds, therefore,

that the plaintiff may proceed under both the ADA5 and the RA at this time.

                               Additional Matters

      At the time the plaintiff filed his motion to compel, five defendants had

not been served. The plaintiff had trouble identifying these defendants. On

April 21, 2015, the court directed the U.S. Marshal’s Service to make further

efforts to serve four of the five defendants (Nurse Leslie, Nurse Mehring, Nurse

Bill, and Nurse Practitioner Jane Doe), which included attempting to locate and

serve them at the proper facility. Dkt. No. 47. The court also extended the

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 Based on the defendants’ response to the plaintiff’s discovery request number
30 that the Racine County Jail receives funds from the State Criminal Alien
Assistance Program, it appears that the Racine County Jail receives federal
funding.

5 The plaintiff seeks only monetary damages. In United States v. Georgia, 546
U.S. 151, 159 (2006), the Supreme Court declined to decide whether states are
immune from suits for damages arising from conditions that violate the ADA
but not the Constitution. Here, however, the plaintiff alleges violations of both
the Constitution and the ADA. “[I]nsofar as Title II creates a private cause of
action for damages against the States for conduct that actually violates the
Fourteenth Amendment, Title II validly abrogates state sovereign immunity.” Id.
at 159.

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deadline for service on the four defendants until June 30, 2015. Id. A review of

the docket indicates that on June 2, 2015, the marshals served Nurse Leslie,

Nurse Mehring, Nurse Bill, and Nurse Practitioner Jane Doe. Dkt. No. 57.

Attorneys W. Patrick Sullivan and Steven T. Elmer of the law firm of Siesennop

& Sullivan have appeared on behalf of those defendants. Dkt. No. 59.

      The fifth unserved defendant, “Unknown, Evans Doe, Classification

Officer,” still needs to be served. In response to the plaintiff’s first request for

discovery, the defendants stated that Classification Jailer Evans Doe “is

believed to be Joshua Evans, address unknown.” Dkt. No. 49-1 at 2. It

appears, therefore, that this defendant no longer works at the Racine County

Jail. Because this defendant is a former jail employee, the defendants likely

have information as to his current whereabouts. The defendants must clarify to

the court within ten days of the date of this order whether they have such

information, and if they do, they must provide it to the court so that defendant

Evans Doe may be served.

      Because in this order the court now has allowed the plaintiff to proceed

on two additional causes of action, and because four more defendants have

been served and a fifth must still be served, the court will take this opportunity

to place this case on a single litigation track as to all defendants. The court will

deny the defendants’ motion for summary judgment without prejudice. Dkt.

No. 36. Once defendant Evans Doe has been served, and all of the defendants

have answered the complaint, the court will enter an amended scheduling




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order setting deadlines for the completion of discovery and for filing dispositive

motions. Those deadlines will apply to all parties to this case.6

Plaintiff’s Request for Reconsideration of his Motion to Appoint to Counsel (Dkt.
                                      No. 51)

      In his letter request for clarification regarding the screening order, Dkt.

No. 51, /the plaintiff also seeks reconsideration of the court’s denial of his

request for pro bono counsel, especially if he will be required to respond to two

summary judgment motions (the recently-served medical professional

defendants will probably be represented by separate counsel from those who

now represent the non-medical defendants, see Dkt. No. 54 at 2). The plaintiff

has consistently demonstrated his competence to proceed on his own

throughout this case. Specifically, his filings show that he is capable of

advocating for himself, conducting discovery, filings motions, and responding

to motions. He asserts in his recently-filed motion for extension of time that he

already has his own motion for summary judgment prepared. As the court

stated above, it is going to give all parties additional time to complete discovery

and file pretrial motions. Accordingly, at this stage, the court continues to

believe that the plaintiff is capable of proceeding on his own. The court will

deny without prejudice his request for appointment of counsel.

      The court ORDERS that the plaintiff’s motion to compel (Dkt. No. 45) is

DENIED.


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 The court will deny the plaintiff’s motion for extension of time to respond to
summary judgment and to file his own dispositive motion as moot, given the
court’s denial of the motion for summary judgment and decision to set new
deadlines.
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      The court further ORDERS that the plaintiff’s request for clarification

(Dkt. No. 51), construed as a motion for reconsideration of the screening order,

is GRANTED. The plaintiff may proceed on claims under the Americans with

Disabilities Act and the Rehabilitation Act.

      The court further ORDERS that after the unserved defendant (Unknown,

sued as Evans Doe, Classification Officer) has been served, and all remaining

defendants have answered the complaint, the court will enter an amended

scheduling order setting deadlines for the completion of discovery and for filing

dispositive motions.

      The court further ORDERS that the plaintiff’s motion for extension of

time (Dkt. No. 53) is DENIED AS MOOT.

      The court further ORDERS that the defendants’ motion for summary

judgment (Dkt. No. 36) is DENIED WITHOUT PREJUDICE.

      The court further ORDERS that, within ten days of the date of this

order, the defendants shall advise the court whether they have information as

to Classification Jailer Evans Doe/Joshua Evans’s current whereabouts and, if

so, shall provide court with that information so that he may be served.

      Dated at Milwaukee this 10th day of September, 2015.




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